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 STEPHANIE CLIFFORD a.k.a. STORMY DANIELS a.k.a.            DONALD J. TRUMP a.k.a. DAVID DENNISON, an
 PEGGY PETERSON, an individual                              individual, ESSENTIAL CONSULTANTS, LLC, a Delaware Limited Liability
                                                            Company, and DOES 1 through 10, inclusive
                                                                                                         District of Columbia




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28 U.S.C. 1332, 1441 and 1446; Declaratory Relief




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